[Cite as State v. Adams, 2024-Ohio-3120.]




             IN THE COURT OF APPEALS OF OHIO
                             SEVENTH APPELLATE DISTRICT
                                 MAHONING COUNTY

                                            STATE OF OHIO,

                                            Plaintiff-Appellee,

                                                    v.

                                        BENNIE L. ADAMS,

                                       Defendant-Appellant.


                        OPINION AND JUDGMENT ENTRY
                                        Case No. 23 MA 0086


                                   Application for Reconsideration

                                        BEFORE:
                   Carol Ann Robb, Mark A. Hanni, Katelyn Dickey, Judges.


                                               JUDGMENT:
                                                 Denied.


 Atty. Gina DeGenova, Mahoning County Prosecutor, Atty. Ralph M. Rivera, Chief,
 Criminal Division, Atty. Edward A. Czopur, Assistant Prosecutor, Mahoning County
 Prosecutor's Office for Plaintiff-Appellee

 Atty. Kimberly S. Rigby, Managing Counsel, Atty. Renee Severyn, Assistant State
 Public Defender for Defendant-Appellant.

                                       Dated: August 15, 2024
                                                                                          –2–




 PER CURIAM.

       {¶1}   Appellant, Bennie L. Adams, seeks reconsideration of our decision in State
v. Adams, 2024-Ohio-2487 (7th Dist.). For the following reasons, his application is
denied.
       {¶2}   App.R. 26(A)(1) permits an appellant to file an application for
reconsideration. The test generally applied to reconsiderations is whether the applicant
identifies “an obvious error in [the] decision or raises an issue for our consideration that
was either not considered at all or was not fully considered by us when it should have
been.” Electronic Classroom of Tomorrow v. Ohio State Bd. of Education, 2019-Ohio-
1540, ¶ 3 (10th Dist.), aff'd sub nom. Electronic Classroom of Tomorrow v. State Bd. of
Education, 2021-Ohio-3445; State v. Carosiello, 2018-Ohio-860, ¶ 12 (7th Dist.).
       {¶3}   An application for reconsideration “is not designed for use in instances
where a party simply disagrees with the logic or conclusions of the court.” State v. Burke,
2006-Ohio-1026, ¶ 2 (10th Dist.), citing State v. Owens, 112 Ohio App.3d 334, 336 (11th
Dist.1996). Moreover, an application for reconsideration does not permit the applicant to
raise new arguments or issues for review that were not raised on appeal. State v.
Wellington, 2015-Ohio-2095, ¶ 9 (7th Dist.).
       {¶4}   Here, Appellant claims our opinion is internally conflicted since we indicated
testimony about the jurors’ exposure to news sources was relevant, but did not find the
trial court’s limiting instruction in this regard was error. Appellant intimates our reference
to the trial court’s possible reasoning for its ruling, as streamlining the hearing or judicial
economy, is an obvious error. We disagree.
       {¶5}   We explained in significant detail that the issue about which Appellant
complains, i.e., jurors’ exposure to pretrial media, was adequately addressed. Most of
the jurors answered questions in this regard at the hearing, and their voir dire
questionnaires, which they answered before trial commenced, asked these precise
questions and were introduced at the hearing. Appellant simply disagrees with our
decision that the trial court did not abuse its discretion.




Case No. 23 MA 0086
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       {¶6}   More importantly, regardless of the reason for the court’s limiting instruction,
the issues to be examined at the Remmer hearing were “‘when the jurors learned about
his prior rape conviction and * * * what, if any, impact any prior conviction knowledge may
have had [on the jury's decision.]’ Id. (applying Cunningham v. Shoop, 23 F.4th 636 (6th
Cir. 2022), cert. denied, 143 S. Ct. 37 (2022).” Id. at ¶ 47. We found:
       Defense counsel questioned each juror on the critical issues before it, i.e.,
       whether the juror knew about Appellant's rape conviction or prison term at
       the time of trial.   None of the jurors testified they were aware of the
       prejudicial information before deliberating or recommending Appellant's
       sentence.
       Thus, to the extent the trial court limited questioning about specific media
       exposure, we find no abuse of discretion.
Id. at ¶ 80-81.
       {¶7}   Because Appellant does not identify an obvious error in our decision or raise
an issue that we either did not consider or that we did not fully consider, his application
for reconsideration is denied.



 JUDGE CAROL ANN ROBB

 JUDGE MARK A. HANNI

 JUDGE KATELYN DICKEY

                                 NOTICE TO COUNSEL

 This document constitutes a final judgment entry.




Case No. 23 MA 0086
